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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION


PANTECH CORPORATION and PANTECH
WIRELESS, LLC

               Plaintiffs,
                                                  Case No.
v.
                                                  JURY TRIAL DEMANDED
ONEPLUS TECHNOLOGY (SHENZHEN)
CO., LTD.,

               Defendant.


                       COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiffs Pantech Corporation (“Pantech Corp.”) and Pantech Wireless, LLC (“Pantech

Wireless”) (collectively, “Plaintiffs”), for their Complaint against Defendant OnePlus

Technology (Shenzhen) Co., Ltd., (“OnePlus” or “Defendant”), allege the following:

                                  NATURE OF THE ACTION

         1.     This is an action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. § 1, et seq.

                                         THE PARTIES

         2.     Pantech Corp. is an entity organized under the laws of South Korea, with a place

of business at 10F, 251, Gangnam-daero, Seocho-gu, Seoul 06735, Republic of Korea.

         3.     Pantech Wireless is the wholly owned subsidiary of Pantech Corp. Pantech

Wireless is an entity organized under the laws of Texas, with a place of business at 3000 Polar

Lane, #302, Cedar Park, TX 78613.

         4.     Defendant OnePlus Technology (Shenzhen) Co., Ltd. is a corporation duly

organized and existing under the laws of China, with its principal place of business at 18F,


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Tairan Building, Block C, Tairan 8th Road, Chegongmiao, Futian District, Shenzhen,

Guangdong, 518040, China.

       5.      Defendant is in the business of providing information and communication

technology solutions. Specifically, Defendant provides and makes available for sale wireless

telecommunications equipment, including smartphones and mobile devices.

                                 JURISDICTION AND VENUE

       6.      This Court has subject matter jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. §§ 1331 and 1338(a) because the action arises under the patent laws of the

United States, 35 U.S.C. § 271, et seq.

       7.      This Court has personal jurisdiction over Defendant. Defendant has continuous

and systematic business contacts with the State of Texas and has committed and continues to

commit acts of patent infringement in the United States, including in the State of Texas, by

making, using, offering to sell, and/or selling accused products in the United States and Texas,

and/or importing accused products into the United States and Texas. In addition, Defendant

conducts its business extensively throughout Texas and derives substantial revenue in Texas, by

shipping, distributing, offering for sale, selling, and advertising (including through an interactive

web page) its products and/or services in the State of Texas and the Eastern District of Texas.

Defendant has purposefully and voluntarily placed in the stream of commerce one or more

products and/or services that practice the Asserted Patents (as set forth below) with the intention

and expectation that they will be purchased and used by consumers in the Eastern District of

Texas. For example, OnePlus advertises its products (including those accused in this Complaint)

for purchase on its webpage, accessible from the United States, including Texas, such as at

https://www.oneplus.com/store/phone. Further, https://www.oneplus.com includes a user

agreement (https://www.oneplus.com/legal/use-of-cookies) that imposes terms between users


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and “OnePlus Technology (Shenzhen) Co., Ltd (referred to as we, us or OnePlus).” OnePlus also

advertises on its website (for example at https://www.oneplus.com/oneplus-n200-5g) that certain

of its products are available for purchase from T-Mobile (https://www.t-mobile.com/cell-

phone/oneplus-nord-n200-5g), Amazon (https://www.amazon.com/OnePlus-Unlocked-Android-

Smartphone-Charging/dp/B07XWGWPH5),                          and           Best              Buy

(https://www.bestbuy.com/site/oneplus-nord-n200-5g-64gb-unlocked-blue-quantum/6468089.p).

       8.      On information and belief, OnePlus products accused in this Complaint are and

have been sold in physical T-Mobile retail stores located within the State of Texas and the

Eastern District of Texas, for example at 5627 S Broadway Ave, Tyler, TX 75703; 900 E End

Blvd N #100b, Marshall, TX 75670; and 3741 Mall Dr., Texarkana, TX 75501.

       9.      OnePlus has previously admitted transacting business in this District and

consented to jurisdiction in this District, for example in Altpass LLC v. OnePlus Technology

(Shenzhen) Co., Ltd., No. 2-20-cv-00105, Dkt. 21 at 1 (E.D. Tex. Oct. 21, 2020) (“OnePlus

admits it transacts business within the State of Texas…”).

       10.     In addition, or in the alternative, this Court has personal jurisdiction over

Defendant pursuant to Fed. R. Civ. P. 4(k)(2).

       11.     Venue is proper in this district as to Defendant, which is organized under the laws

of China. 28 U.S.C. § 1391(c)(3) provides that “a defendant not resident in the United States may

be sued in any judicial district, and the joinder of such a defendant shall be disregarded in

determining where the action may be brought with respect to other defendants.”

                            ACCUSED INSTRUMENTALITIES

       12.     Defendant makes, uses, sells and offers for sale, provides, and causes to be used,

now and within the past six years, mobile phones (e.g., OnePlus series, Nord series) and certain

other LTE- and 5G-capable devices (the “Accused Instrumentalities”).


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         13.       For example, Defendant advertises that the OnePlus X, OnePlus 3T, OnePlus 3,

OnePlus 5T, OnePlus 5, OnePlus 6, OnePlus 6T, OnePlus 7 Pro, OnePlus 7T, OnePlus 7T Pro,

OnePlus 8, OnePlus 8T, OnePlus 8 Pro, OnePlus 9 5G, OnePlus 9 Pro 5G, OnePlus Nord N10

5G, OnePlus Nord N100, OnePlus Nord N200 5G, OnePlus Nord N20 5G, and OnePlus 10 Pro

5G devices are compliant with LTE and/or 5G cellular network standards.

                                                PATENTS-IN-SUIT

         14.       The Asserted Patents are U.S. Patent Nos. 9,548,839; 11,172,493; 8,587,710;

11,012,954; 8,893,052; 10,869,247; 9,063,654; and 10,162,490.

         15.       U.S. Patent No. 9,548,839 (the “’839 Patent”), is entitled “Method for mapping

physical hybrid automatic repeat request indicator channel.” On May 7, 2020, Pantech Corp.

obtained full and complete ownership, title and interest in the ’839 Patent.1

         16.       U.S. Patent No. 11,172,493 (the “’493 Patent”) is entitled “Resource allocation,

scheduling, and signaling for grouping real time services.” On April 27, 2021, Pantech Wireless

obtained full and complete ownership, title and interest in the ’493 Patent.2




1
  The named inventors of the ’839 Patent are Jung Hoon Lee and Joon Kui Ahn. The application was filed May 29,
2015, published Sep. 17, 2015, and the ’839 Patent issued on Jan. 17, 2017. The inventors assigned a parent
application, U.S. Patent App. No. 12/388,243 and any continuations thereto, including the application underlying
the ’839 Patent, to LG Electronics Inc. on June 18, 2009. LG Electronics Inc. assigned a parent application, U.S.
Patent App. No. 13/012,702 and any continuations thereto, including the application underlying the ’839 Patent, to
Pantech Co., Ltd. on February 15, 2012. On July 6, 2016, Pantech Co., Ltd. transferred the interest to Pantech Inc.
On October 31, 2016, Pantech Inc. transferred the interest to Goldpeak Innovations Inc. (“Goldpeak”), and on May 7,
2020, Goldpeak transferred the interest to Pantech Corp.
2
  The named inventors of the ’493 Patent are Jin Wang, Arty Chandra, John S. Chen, Mohammed Sammour, and
Stephen E. Terry. The U.S. patent application was filed on Mar. 20, 2012, published September Jul. 12, 2012, and
the ’493 Patent issued on Nov. 9, 2021. On December 7, 2007, the inventors assigned the parent application, U.S.
Patent App. No. 11/840,534 and any continuations thereto, including the application underlying the ’493 Patent, to
InterDigital Technology Corporation. On January 21, 2016, InterDigital Technology Corporation transferred the
interest to InterDigital Holdings, Inc., who transferred the interest to InterDigital, Inc., who transferred the interest to
DST Holdings. Inc. On February 9, 2016, DST Holdings, Inc. transferred the interest to Signal Trust for Wireless
Innovation (“Signal Trust”). On December 30, 2020, Signal Trust transferred the interest to RnB Wireless LLC
(“RnB Wireless”). On April 27, 2021, RnB Wireless transferred the interest to Pantech Wireless.



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        17.      U.S. Patent No. 8,587,710 (the “’710 Patent”) is entitled “Apparatus and method

for controlling picture using image recognition.” On May 6, 2020, Pantech Corp. obtained full

and complete ownership, title and interest in the ’710 Patent.3

        18.      U.S. Patent No. 11,012,954 (the “’954 Patent”) is entitled “Apparatus and Method

for Establishing Uplink Synchronization in a Wireless Communication System.” On May 7,

2020, Pantech Corp. obtained full and complete ownership, title and interest in the ’954 Patent.4

        19.      U.S. Patent No. 8,893,052 (the “’052 Patent”) is entitled “System and method for

controlling mobile terminal application using gesture.” On May 6, 2020, Pantech Corp. obtained

full and complete ownership, title and interest in the ’052 Patent.5

        20.      U.S. Patent No. 10,869,247 (the “’247 Patent”) is entitled “Supporting uplink

transmissions.” On April 27, 2021, Pantech Wireless obtained full and complete ownership, title

and interest in the ’247 Patent.6


3
  The named inventor of the ’710 Patent is Hyeong-baek Jeon. The U.S. patent application was filed on Aug. 10,
2010, published Mar. 24, 2011, and the ’710 Patent issued on Nov. 19, 2013. The inventor assigned the application
underlying the ’710 Patent to Pantech Co., Ltd. on July 1, 2010. On October 22, 2015, Pantech Co., Ltd. transferred
the interest to Pantech Inc. On May 6, 2020, Pantech Inc. transferred the interest to Pantech Corp.
4
  The named inventors of the ’954 Patent are Kibum Kwon and Myungcheul Jung. The patent application was filed
on January 2, 2020, published on May 7, 2020, and the ’954 Patent issued on May 18, 2021. The inventors assigned
the parent application, U.S. Patent App. No. 13/578,531 and any continuations thereto, including the application
underlying the ’954 Patent, to Pantech Co. Ltd. on August 10, 2012. On July 6, 2016, Pantech Co., Ltd. transferred
the interest to Pantech Inc. On October 31, 2016, Pantech Inc. transferred the interest to Goldpeak, and on May 7,
2020, Goldpeak transferred the interest to Pantech Corp.
5
  The named inventor of the ’052 Patent is Yun Gwan Ryu. The patent application was filed on Jun. 3, 2009,
published on May 13, 2010, and the ’052 Patent issued on Nov. 18, 2014. The inventor assigned the application
underlying the ’052 Patent to Pantech Co., Ltd. on May 29, 2009. On October 22, 2015, Pantech Co., Ltd.
transferred the interest to Pantech Inc. On May 6, 2020, Pantech Inc. transferred the interest to Pantech Corp.
6
  The named inventors of the ’247 Patent are Guodong Zhang, Sung-Hyuk Shin, Stephen E. Terry, James M. Miller,
and Stephen G. Dick. The U.S. patent application was filed on August 31, 2020 and the ’247 Patent issued on
December 15, 2020. On October 5, 2006, the inventors assigned the parent application, U.S. Patent App. No.
10/962,720 and any continuations thereto, including the application underlying the ’247 Patent, to InterDigital
Technology Corporation. On October 11, 2013, InterDigital Technology Corporation transferred the interest to
InterDigital Holdings, Inc., who transferred the interest to InterDigital, Inc., who transferred the interest to DST
Holdings. Inc. On October 15, 2013, DST Holdings, Inc. transferred the interest to Signal Trust. On December 30,
2020, Signal Trust transferred the interest to RnB Wireless. On April 27, 2021, RnB Wireless transferred the interest
to Pantech Wireless.


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        21.      U.S. Patent No. 9,063,654 (the “’654 Patent”) is entitled “Terminal apparatus and

method for supporting smart touch operation.” On May 6, 2020, Pantech Corp. obtained full and

complete ownership, title and interest in the ’654 Patent.7

        22.      U.S. Patent No. 10,162,490 (the “’490 Patent”) is entitled “Method for displaying

transmission status of MMS (multimedia messaging service) message and telecommunication

terminal using the method.” On May 7, 2020, Pantech Corp. obtained full and complete

ownership, title and interest in the ’490 Patent.8

        23.      Pantech Corp. is the rightful owner of the ’839, ’710, ’954, ’052, ’654 and ’490

Patents and holds the entire right, title and interest in the ’839, ’710, ’954, ’052, ’654 and ’490

Patents, including the right to collect for past damages.

        24.      Pantech Wireless is the rightful owner of the ’493 and ’247 Patents and holds the

entire right, title and interest in the ’493 and ’247 Patents, including the right to collect for past

damages.




7
  The named inventor of the ’654 Patent is Dong Chan Shin. The U.S. patent application was filed on Sep. 4, 2012,
published on Mar. 14, 2013, and the ’654 Patent issued on Jun. 23, 2015. The inventor assigned the application
underlying the ’654 Patent to Pantech Co., Ltd. on July 31, 2012. On October 22, 2015, Pantech Co., Ltd. transferred
the interest to Pantech Inc. On May 6, 2020, Pantech Inc. transferred the interest to Pantech Corp.
8
  The named inventors of the ’490 Patent are Jung Suk Kim, Sang Sung Lim, and Jeong Won Oh. The U.S. patent
application was filed on May 27, 2016, published on Sep. 22, 2016, and the ’490 Patent issued on Dec. 25, 2018.
The inventors assigned a parent application, U.S. Patent App. No. 12/364,085 and any continuations thereto,
including the application underlying the ’493 Patent, to Pantech & Curitel Communications, Inc. on January 30,
2009. On December 30, 2009, Pantech & Curitel Communications, Inc. assigned the interest to Pantech Co., Ltd. On
October 22, 2015, Pantech Co., Ltd. transferred the interest to Pantech Inc. On October 31, 2016, Pantech Inc.
transferred the interest to Goldpeak, and on May 7, 2020, Goldpeak transferred the interest to Pantech Corp.



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                                               BACKGROUND

                                                Pantech Corp.

        25.      Pantech Co., Ltd., the predecessor in interest to what is now Pantech Corp.,9 was

originally founded in 1991 in Seoul, South Korea as a competitor in the wireless phone

marketplace.

        26.      Throughout the 1990s and 2000s, Pantech rose to become a leading manufacturer

of mobile phones. By 2012, Pantech had become the second best-selling Korean handset maker.

        27.      Pantech’s products were sold in South Korea, the United States, Japan, China,

Europe, Vietnam, and other countries around the world. Pantech launched operations in the

United States in 2003.

        28.      Pantech’s portfolio of intellectual property is broad and extensive, comprising

thousands of worldwide patents and patent applications in the areas of telecommunications,

“smart” devices, and Internet of Things products. Pantech’s portfolio, in one aspect, covers

wireless communication systems and devices and methods for using those communication

systems. In the wireless technology space alone, Pantech holds more than 200 U.S. patents and

applications, many of which have been declared standard essential patents.

        29.      Pantech has invested heavily in research and development, investing, on average,

over 10% of its annual revenue in research and development. Pantech’s research and

development efforts in network technology include, but are not limited to, technologies focused

on LTE & 5G networks, WCDMA/CDMA, WiMAX, WiFi, Near Field Communication (NFC),




9
 Pantech Co., Ltd. was formed in 1991, and as the result of a restructuring and acquisition in 2015 became Pantech,
Inc. Thereafter, Pantech Corporation was formed. Pantech, Inc. transferred its assets to Pantech Corp. as part of an
asset sale in 2020 (these three entities are hereinafter referred to collectively as “Pantech”).



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Visible Light Communication, Human Body Communication, Ultra-Wideband Communication

and IP Mesh Network.

       30.     Over the last decade, Pantech has enthusiastically contributed to the 3rd

Generation Partnership Project (3GPP) LTE/LTE-A standardization by submitting proposals to

TSG RAN, RAN1, and RAN2. Indeed, Pantech secured numerous LTE Standard Essential

Patents and patent applications (SEPs) in connection with its contributions. In 2014, National

Applied Research Labs in Taiwan reported that Pantech held 1% of LTE-related SEPs, and that

number has only increased since 2014.

       31.     Recognizing the value of its own portfolio and its potential role in the Fourth

Industrial Revolution, Pantech has committed to making its intellectual property available in the

marketplace, including to competitors. On its website, under the heading “IP Umbrella Services,”

Pantech offers to exchange intellectual property and technology, and collaborate with

competitors and patent holders, through licenses, to enable the market to identify new

technological ventures.

       32.     Pantech Corp. is the owner by assignment of a portfolio of patents, including the

Asserted Patents described in paragraphs 15, 17-19, and 21-22 and in detail in the counts below,

that relate to mobile device user interface features and technology for cellular communications

networks, including variations or generations of cellular communication network technology

such as, but not limited to LTE, as discussed herein.

                                        Pantech Wireless

       33.     InterDigital, Inc. (“InterDigital”) is a wireless research and development company

that has, for decades, been a pioneer in the development of fundamental wireless technologies




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that are at the core of mobile devices, networks, and services worldwide. InterDigital has been

one of the major contributors to worldwide mobile standards over the past 20 years.

         34.     In 2013, InterDigital established Signal Trust for Wireless Innovation (“Signal

Trust”). The patents and patent applications that comprise Signal Trust were developed by

InterDigital, and distributions from Signal Trust were earmarked to support continued research

related to cellular wireless technologies, as well as scholarly analysis of intellectual property

rights and the technological, commercial, and creative innovations they facilitate.

         35.     A portion of the patent portfolio created by InterDigital and transferred to Signal

Trust was thereafter transferred to RnB Wireless LLC and then to Pantech Wireless.

         36.     Pantech Wireless is the owner by assignment of a portfolio of patents, including

the Asserted Patents described in paragraphs 16 and 20 and in detail in the counts below, that

relate to technology for cellular communications networks, including variations or generations of

cellular communication network technology such as, but not limited to UMTS, WCDMA, 3G,

and LTE, as discussed herein.

                                 Negotiations Between the Parties

         37.     Cellular communication network technology is used to provide data transmission

across mobile cellular networks.

         38.     It is critical for cellular communication network technology to be standardized

around     the   globe.    Independent    standard-setting    organizations,      like   the   European

Telecommunications        Standards   Institute   (ETSI),    establish   global    standards   for   the

telecommunication industries. ETSI, along with other standard-setting organizations, have made

it possible to have global interoperability between networks, devices and network operators.




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       39.     ETSI sets forth a policy in order to balance intellectual property protections

against the need for an open standard by designating certain intellectual property rights (IPR) as

“essential.” ETSI sets forth the following definition of “essential”:

       “ESSENTIAL” as applied to IPR means that it is not possible on technical (but not
       commercial) grounds, taking into account normal technical practice and the state of the
       art generally available at the time of standardization, to make, sell, lease, otherwise
       dispose of, repair, use or operate EQUIPMENT or METHODS which comply with a
       STANDARD without infringing that IPR. For the avoidance of doubt in exceptional
       cases where a STANDARD can only be implemented by technical solutions, all of which
       are infringements of IPRs, all such IPRs shall be considered ESSENTIAL.

Clause 15.6 of the ETSI IPR Policy, https://www.etsi.org/images/files/IPR/etsi-ipr-policy.pdf.

       40.     OnePlus is required to have a license to one or more essential patents owned by

Pantech Corp. and Pantech Wireless including the Asserted Patents that are identified as essential.

       41.     Pantech Corp. first sent a letter to Mr. Zuohu Liu, CEO of Defendant, on June 12,

2020 offering to license patents currently owned and/or managed by Pantech Corp., including

those that are essential to cellular standards including LTE and LTE-Advanced. The

correspondence identified OnePlus products, such as OnePlus 6T, OnePlus 7, OnePlus 7 Pro,

OnePlus 7T, OnePlus 7T Pro, OnePlus 8 and OnePlus 8 Pro, that were covered by claims of the

offered patents and attached a list of Pantech’s patents, including those covering OnePlus’s

products.

       42.     Since then, Pantech Corp. engaged in additional communication with OnePlus

through emails, letters, and meetings regarding licensing patents owned by Pantech Corp.,

including those that are essential to cellular standards including LTE and 5G. For example,

Pantech Corp. provided additional details regarding its portfolio and/or licensing proposal to

OnePlus on at least September 24, 2020, January 21, 2021, March 25, 2021, April 16, 2021, May

4, 2021, June 1, 2021, and July 9, 2021. Pantech Corp. has continuously attempted to license its




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patents for more than a year—including the patents asserted herein—on fair and reasonable

terms, yet OnePlus has still elected not to license Pantech Corp.’s patents. Indeed, despite the

amount of time that has passed since Pantech first reached out, OnePlus has never provided a

counter offer. The result is that OnePlus has continued, and continues today, to make, use, sell

and offer for sale Pantech Corp.’s patented technology without license.

         43.   On May 14, 2021, Pantech Corp. and Pantech Wireless also provided OnePlus

notice that Pantech Wireless had acquired the Signal Trust portfolio of patents and provided a list

of the acquired patents. On July 9, 2021, Pantech Corp. and Pantech Wireless provided OnePlus

with additional information regarding OnePlus’s practice of such patents, and made a licensing

offer that included the Pantech Wireless patents. Again, however, OnePlus has not substantively

responded to such communications and offer. OnePlus has still elected not to license Pantech

Wireless’s patents on fair and reasonable terms.

         44.   In accordance with ETSI’s policy, Pantech Corp. and Pantech Wireless (through

Pantech Corp.) provided OnePlus with multiple license offers on terms that are fair, reasonable

and non-discriminatory (“FRAND”) for both the Pantech Corp. and Pantech Wireless patents.

The United States Department of Justice, with the United States Patent and Trademark Office

(USPTO) and the National Institute of Standards and Technology (NIST), have made clear that

patent owners and potential licensees of essential patents should “engage in good-faith

negotiations to reach F/RAND license terms” to “help reduce the costs and other burdens

associated with litigation.” 2019 Policy Statement on Remedies for SEPs Subject to Voluntary

F/RAND Commitments, https://www.justice.gov/atr/page/file/1228016/download (December 19,

2019).




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       45.     Pantech Corp. and Pantech Wireless have made continuous and good faith efforts

to negotiate, including but not limited to providing technical details regarding the Asserted

Patents and their “standards essential” nature and offering to license the Asserted Patents and

other offered patents on FRAND terms. However, Defendant has not engaged in good faith

discussions or negotiations with Pantech Corp. or Pantech Wireless.

       46.     Defendant has been operating and continues to operate without a license to

Plaintiffs’ standards-essential and other patents.

               COUNT I – INFRINGEMENT OF U.S. PATENT NO. 9,548,839

       47.     The allegations set forth in the foregoing paragraphs 1 through 46 are

incorporated into this claim for relief.

       48.     On Jan. 17, 2017 the ’839 Patent, entitled “Method for mapping physical hybrid

automatic repeat request indicator channel” was duly and legally issued by the United States

Patent and Trademark Office from U.S. Patent Application No. 14/726,014, filed on May 29,

2015. The ’839 Patent claims priority to KR 10-2008-0124084, filed on Dec. 8, 2008; U.S.

Patent Application No. 12/388,243, filed on Feb. 18, 2009 and U.S. Provisional Application No.

61/029,895, filed on Feb. 19, 2008. A true and correct copy of the ’839 Patent is attached as

Exhibit 1.

       49.     Pantech Corp. is the assignee and owner of all right, title and interest in and to

the ’839 Patent, including the right to assert all causes of action arising under said patent and the

right to any remedies for its infringement.

       50.     The ’839 Patent discloses at least apparatuses and methods for mapping a physical

hybrid automatic repeat request indicator channel (PHICH) to at least one orthogonal frequency

division multiplexing (OFDM) symbol. Indexes of resource element groups in which the PHICH

is transmitted are determined according to a ratio involving the number of available resource


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element groups in the OFDM symbol. For example, claims 1-4 and 9-12 of the ’839 Patent recite

elements of PHICH mapping mandated by the LTE standard, including at least 3GPP TS 36.211,

TS 36.213, and TS 36.331. See 3GPP TS 36.211 v 8.9.0 at 63-65 (§ 6.9.3) (mapping PHICH to

OFDM symbols; determination of resource element group indexes); TS 36.213 v 8.8.0 at 65-66

(§ 9.1.2) (UE determination of PHICH resource); and TS 36.331 v 8.7.0 at 24, 25, 84, 85, 103,

119, 125 (§§ 5.2.2.6, 5.2.2.9, 6.2.2, 6.3.1, 6.3.2) (UE determination of indexes).

       51.     Upon information and belief, Defendant has and continues to directly infringe at

least claims 9-12 of the ’839 Patent by making, using, selling, importing, offering to sell within

the United States, importing into the United States, and providing to and within the United States,

Accused Instrumentalities that practice at least claims 9-12 of the ’839 Patent (the “OnePlus

Accused ’839 Instrumentalities”). Defendant also has and continues to directly infringe at least

claims 9-12 by practicing claims 9-12 through the OnePlus Accused ’839 Instrumentalities, and

by causing the OnePlus Accused ’839 Instrumentalities to practice the patented inventions.

       52.     OnePlus Accused ’839 Instrumentalities include, for example, the OnePlus 5T

and other LTE-compatible devices that support PHICH usage.

       53.     Defendant was made aware of the ’839 Patent family and its infringement thereof

at least as early as June 12, 2020, when family members were identified in correspondence sent

to OnePlus by Pantech Corp. Pantech Corp. followed up with additional correspondence

regarding the ’839 Patent and OnePlus’s infringement thereof again on January 21, 2021.

       54.     Since at least as early as January 21, 2021, Defendant’s infringement will have

been, and continues to be willful.




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         55.    Upon information and belief, the OnePlus Accused ’839 Instrumentalities are

used, marketed, provided to, and/or used by or for Defendant’s partners, clients,

customers/subscribers and end users across the country and in this district.

         56.    Upon information and belief, Defendant has induced and continues to induce

others to infringe at least claims 1-4 and 9-12 of the ’839 Patent under 35 U.S.C. § 271(b) by,

among other things, and with specific intent or willful blindness, actively aiding and abetting

others    to   infringe,   including,   but   not    limited   to   Defendant’s   partners,   clients,

customers/subscribers, and end users, whose use of the OnePlus Accused ’839 Instrumentalities

constitutes direct infringement of at least claims 1-4 and 9-12 of the ’839 Patent. For example,

OnePlus advertises and has advertised the use of its devices for LTE communications. See

https://www.oneplus.com/support/spec/oneplus-5t.

         57.    In particular, Defendant’s actions that aid and abet others such as its partners,

customers/subscribers, clients, and end users to infringe include advertising and distributing the

OnePlus Accused ’839 Instrumentalities, and providing instruction materials, training and

services regarding the OnePlus Accused ’839 Instrumentalities.

         58.    Any party, including Defendant’s partners, clients, customers/subscribers, and end

users, using the OnePlus Accused ’839 Instrumentalities necessarily infringes the ’839 Patent

because the inventions of the ’839 Patent are required to comply with the LTE cellular standard

(3GPP TS 36.211, TS 36.213, and TS 36.331). Defendant advertises its OnePlus Accused ’839

Instrumentalities as compliant with LTE, which induces others to infringe the ’839 Patent.

Defendant has knowingly induced infringement since at least January 21, 2021, when Defendant

was first made aware of the ’839 Patent, as discussed above.




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       59.     Upon information and belief, Defendant is liable as a contributory infringer of

the ’839 Patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the

United States the OnePlus Accused ’839 Instrumentalities that infringe the patented inventions,

to be especially made or adapted for use in an infringement of the ’839 Patent. Each of the

OnePlus Accused ’839 Instrumentalities is a material component for use in practicing the ’839

Patent and is specifically made and not a staple article of commerce suitable for substantial non-

infringing use. In particular, each of the OnePlus Accused ’839 Instrumentalities is advertised to

be compliant with the relevant standards and primarily used in compliance with such standards.

       60.     Pantech Corp. has been harmed by Defendant’s infringing activities.

              COUNT II – INFRINGEMENT OF U.S. PATENT NO. 11,172,493

       61.     The allegations set forth in the foregoing paragraphs 1 through 60 are

incorporated into this claim for relief.

       62.     On Nov. 9, 2021 the ’493 Patent, entitled “Resource allocation, scheduling, and

signaling for grouping real time services” was duly and legally issued by the United States Patent

and Trademark Office from U.S. Patent Application No. 13/424,906, filed on Mar. 20, 2012.

The ’493 Patent claims priority to U.S. Patent Application No. 11/840,534, filed on Aug. 17,

2007, and U.S. Provisional Patent Application No. 60/839,022, filed on Aug. 21, 2006. A true

and correct copy of the ’493 Patent is attached as Exhibit 2.

       63.     Pantech Wireless is the assignee and owner of all right, title and interest in and to

the ’493 Patent, including the right to assert all causes of action arising under said patent and the

right to any remedies for its infringement.

       64.     The ’493 Patent discloses wireless transmit/receive unit (WTRU) apparatuses that,

as part of a WTRU group, control their uplink transmission based on received control bits that

allow for efficient decisions on status reporting, resource allocation, scheduling, and signaling


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for grouping real time services (RTS). For example, uplink transmission for grouping RTS may

be controlled by utilizing uplink signaling to transition a WTRU between active and inactive

states based on specific parameters. This allows for the physical resources of the network to be

more efficiently utilized. In order to perform WTRU grouping, the ’493 Patent discloses an

embodiment where signaling for grouping services is performed using either the L1 control

channel or through a radio resource control (RRC) configuration message by the use of a

positional bitmap so that the WTRU reads the content from the signaled position to obtain the

necessary information for triggering its resource assignment activity. As the ’493 Patent explains,

a WTRU includes user equipment (UE) in a wireless system, such as those mandated by the LTE

standard. For example, claims 1-4 of the ’493 Patent recite elements for a UE to detect the L1

control information in a RRC message indicating a bit position for a bitmap included in L1

control information associated with an UE group and indicating a number of control bits in the

bitmap that are associated with the UE; and thus uplink transmission on the UE may then be

controlled using the obtained control bit(s), such as those mandated by the LTE standard,

including at least 3GPP TS 36.212, TS 36.213, and TS 36.331, Release 8 and higher. See 3GPP

TS 36.212 v8.8.0 at 43, 55 (§ 5.3.3) (disclosing downlink control information formats for the

transmission of TPC commands, including for power control); TS 36.213 v8.8.0 at 13-14 (§ 5.1.2)

(disclosing uplink control channel behavior for a given UE, including for power control); and TS

36.331 v8.8.0 at 16-17, 34, 95-96, 46-48, 119-20, 126-27, 132-33 (§§ 4.2.1, 5.3.3.4, 5.3.10, 6.3.2)

(disclosing UE RRC setup and configuration information, including for power control).

       65.     Upon information and belief, Defendant has and continues to directly infringe at

least claims 1-4 of the ’493 Patent by making, using, selling, importing, offering to sell within

the United States, importing into the United States, and providing to and within the United States,




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Accused Instrumentalities that practice at least claims 1-4 of the ’493 Patent (the “OnePlus

Accused ’493 Instrumentalities”). Defendant also has and continues to directly infringe at least

claims 1-4 by practicing claims 1-4 through the OnePlus Accused ’493 Instrumentalities, and by

causing the OnePlus Accused ’493 Instrumentalities to practice the patented inventions.

           66.    OnePlus Accused ’493 Instrumentalities include, for example, the OnePlus 5T

and other LTE compatible products that support power control of an uplink transmission using

control bit(s) in received a multiple terminal radio resource configuration. On information and

belief, each of the OnePlus Accused ’493 Instrumentalities incorporate at least one processor

and/or modem configured to comply with LTE and/or LTE-Advances and support multiple

terminal radio resource uplink power control configuration for PUCCH and PUSCH based on

control bit(s).

           67.    Defendant was made aware of the ’493 Patent family its infringement thereof at

least as early as July 9, 2021, when a family member was identified in correspondence sent to

OnePlus by Pantech Corp. on behalf of Pantech Wireless. Defendant was made aware of the ’493

Patent and its infringement thereof at least as early as the date of filing of this Complaint.

           68.    Since at least the date of filing of this Complaint, when it was made aware of

the ’493 Patent by Pantech Corp., Defendant’s infringement has been, and continues to be,

willful.

           69.    Upon information and belief, the OnePlus Accused ’493 Instrumentalities are

used, marketed, provided to, and/or used by or for Defendant’s partners, clients,

customers/subscribers and end users across the country and in this district.

           70.    Upon information and belief, Defendant has induced and continues to induce

others to infringe at least claims 1-4 of the ’493 Patent under 35 U.S.C. § 271(b) by, among other




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things, and with specific intent or willful blindness, actively aiding and abetting others to

infringe, including, but not limited to Defendant’s partners, clients, customers/subscribers, and

end users, whose use of the OnePlus Accused ’493 Instrumentalities constitute direct

infringement of at least one claim of the ’493 Patent. For example, OnePlus advertises and has

advertised    the     use     of     its   devices      for    LTE      communications.       See

https://www.oneplus.com/support/spec/oneplus-5t.

       71.     In particular, Defendant’s actions that aid and abet others such as its partners,

customers/subscribers, clients, and end users to infringe include advertising and distributing the

OnePlus Accused ’493 Instrumentalities, and providing instruction materials, training and

services regarding the OnePlus Accused ’493 Instrumentalities.

       72.     Any party, including Defendant’s partners, clients, customers/subscribers, and end

users, using the OnePlus Accused ’493 Instrumentalities necessarily infringes the ’493 Patent

because the inventions of the ’493 Patent are required to comply with the relevant cellular

standard. Defendant advertises its OnePlus Accused ’493 Instrumentalities as compliant with

LTE, which induces others to infringe the ’493 Patent. Defendant has knowingly induced

infringement since at least as early as the date of filing of this Complaint, when Defendant was

made aware of the ’493 Patent.

       73.     Upon information and belief, Defendant is liable as a contributory infringer of

the ’493 Patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the

United States the OnePlus Accused ’493 Instrumentalities that infringe the patented inventions,

to be especially made or adapted for use in an infringement of the ’493 Patent. Each of the

OnePlus Accused ’493 Instrumentalities is a material component for use in practicing the ’493

Patent and is specifically made and not a staple article of commerce suitable for substantial non-




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infringing use. In particular, each of the OnePlus Accused ’493 Instrumentalities is advertised to

be compliant with the relevant standards and primarily used in compliance with such standards.

       74.     Pantech Corp. has been harmed by Defendant’s infringing activities.

              COUNT III – INFRINGEMENT OF U.S. PATENT NO. 8,587,710

       75.     The allegations set forth in the foregoing paragraphs 1 through 74 are

incorporated into this claim for relief.

       76.     On May 21, 2019, the ’710 Patent, entitled “Apparatus and method for controlling

picture using image recognition,” was duly and legally issued by the United States Patent and

Trademark Office from U.S. Patent Application No. 12/853,798, filed on Aug. 10, 2010.

The ’710 Patent claims foreign priority to KR 10-2009-0090650, filed on Sep. 24, 2009. A true

and correct copy of the ’710 Patent is attached as Exhibit 3.

       77.     Pantech Corp. is the assignee and owner of all right, title and interest in and to

the ’710 Patent, including the right to assert all causes of action arising under said patent and the

right to any remedies for its infringement.

       78.     The ’710 Patent discloses a picture control apparatus and method for controlling a

picture displayed on a display of a mobile terminal according to an action detected through

image recognition.

       79.     Conventional techniques prior to the ’710 Patent required a user to physically

manipulate key buttons or interact with the screen in order to adjust the image based on actions

of the subject being captured. ’710 Patent at 1:22-26. This required the user to complex

adjustments quickly in order to capture high-quality images, especially when the user or subject

was in motion or based on changing environmental factors.

       80.     The ’710 Patent solved this issue by providing a technique for controlling images

without direct physical manipulations by the user. ’710 Patent at 3:15-21. The ’710 Patent’s


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technique employs an action detector in order to recognize variations in motion or expression. Id.

at 2:42-44. Based on the actions detected, the picture controller adjusts the image by: enlarging

or reducing the size of the picture; varying coordinates, colors, and brightness; and adjusting

color effects or white balance. See id. at 2:58-64. The ’710 Patent still accepts some intervention

by the user by, for example, receiving an input such as a touch on the display by the user to

indicate the location for action detection. See id. at 3:23-42. Accordingly, when an action is

detected in an area corresponding to the location on the display indicated by the user, the picture

controller performs the adjustments and variations based on the action detected. See id. at 3:43-

46. The combination of automatically detecting actions and, in response, automatically adjusting

and varying image parameters, the ’710 Patent’s technique ensures that the mobile device

generates high quality pictures without relying on explicit calibration by the user.

       81.     Upon information and belief, Defendant has and continues to directly infringe at

least claims 1, 2, 6, 8, 12, 13, 15, 19, and 21 of the ’710 Patent by making, using, selling,

importing, offering to sell within the United States, importing into the United States, and

providing to and within the United States, Accused Instrumentalities that practice at least claims

1, 2, 6, 8, 12, 13, 15, 19, and 21 of the ’710 Patent (the “OnePlus Accused ’710

Instrumentalities”). Defendant also has and continues to directly infringe at least claims 1, 2, 6, 8,

12, 13, 15, 19, and 21 by practicing claims 1, 2, 6, 8, 12, 13, 15, 19, and 21 through the OnePlus

Accused ’710 Instrumentalities, and by causing the OnePlus Accused ’710 Instrumentalities to

practice the patented inventions.

       82.     OnePlus Accused ’710 Instrumentalities include, for example, the OnePlus Nord

N200 5G and other products that incorporate at least one processor, display, and at least one

camera, and include software functionality such as described below.




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       83.     For example, the OnePlus Nord N200 5G controls a picture displayed on a display

of a mobile terminal according to an action detected through image recognition. In one example,

the action detector detects movement of the subject to be photographed and a corresponding

change in brightness. The OnePlus Nord N200 5G then controls the picture displayed, as

demonstrated by the changing brightness levels in response to the subject’s movement:




Screenshot showing original       Screenshot showing received   Screenshot showing subject
image                             touch corresponding to a      movement detected and
                                  location on the display       brightness level adjusted


       84.     Defendant was made aware of the ’710 Patent and its infringement thereof at least

as early as the date of filing of this Complaint.




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           85.   Since at least the date of filing of this Complaint, when it was made aware of

the ’710 Patent by Pantech Corp., Defendant’s infringement has been, and continues to be,

willful.

           86.   Upon information and belief, the OnePlus Accused ’710 Instrumentalities are

used, marketed, provided to, and/or used by or for Defendant’s partners, clients,

customers/subscribers and end users across the country and in this district.

           87.   Upon information and belief, Defendant has induced and continues to induce

others to infringe at least claims 1, 2, 6, 8, 12, 13, 15, 19, and 21 of the ’710 Patent under 35

U.S.C. § 271(b) by, among other things, and with specific intent or willful blindness, actively

aiding and abetting others to infringe, including, but not limited to Defendant’s partners, clients,

customers/subscribers, and end users, whose use of the OnePlus Accused ’710 Instrumentalities

constitute direct infringement of at least one claim of the ’710 Patent. For example, OnePlus

advertises to users of products such as the OnePlus Nord N200 5G that “Three rear cameras and

a whole bunch of features such as AI scene detection and Nightscape capture sharp and brilliant

images, even in low light,” which induces users to use the cameras of the OnePlus Accused ’710

Instrumentalities. See https://www.oneplus.com/n200-5g.

           88.   In particular, Defendant’s actions that aid and abet others such as its partners,

customers/subscribers, clients, and end users to infringe include advertising and distributing the

OnePlus Accused ’710 Instrumentalities, and providing instruction materials, training and

services regarding the OnePlus Accused ’710 Instrumentalities.

           89.   Any party, including Defendant’s partners, clients, customers/subscribers, and end

users, using the OnePlus Accused ’710 Instrumentalities necessarily infringes the ’710 Patent

because the OnePlus Accused ’710 Instrumentalities incorporate at least one processor and at




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least one camera in order to control a picture displayed on a display of a mobile terminal

according to an action detected through image recognition. Defendant advertises its OnePlus

Accused ’710 Instrumentalities, including its camera functionality, which induces others to

infringe the ’710 Patent. Defendant has knowingly induced infringement since at least as early as

the filing date of this Complaint, when Defendant was made aware of the ’710 Patent.

       90.     Upon information and belief, Defendant is liable as a contributory infringer of

the ’710 Patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the

United States the OnePlus Accused ’710 Instrumentalities that infringe the patented inventions,

to be especially made or adapted for use in an infringement of the ’710 Patent. Each of the

OnePlus Accused ’710 Instrumentalities is a material component for use in practicing the ’710

Patent and is specifically made and not a staple article of commerce suitable for substantial non-

infringing use. In particular, each of the OnePlus Accused ’710 Instrumentalities includes a

camera and related hardware and software that are not capable of substantial non-infringing use

by a user.

       91.     Pantech Corp. has been harmed by Defendant’s infringing activities.

             COUNT IV – INFRINGEMENT OF U.S. PATENT NO. 11,012,954

       92.     The allegations set forth in the foregoing paragraphs 1 through 91 are

incorporated into this claim for relief.

       93.     On May 18, 2021, the ’954 Patent, entitled “Apparatus and Method for

Establishing Uplink Synchronization in a Wireless Communication System” was duly and

legally issued by the United States Patent and Trademark Office from U.S. Patent Application

No. 16/733,106, filed on January 2, 2020. The ’954 Patent claims priority to KR 10-2010-

0012564, filed on February 10, 2010, KR 10-2010-0027230, filed on March 26, 2010, KR 10-




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2011-0008683, filed on January 28, 2011, and U.S. Patent Application No. 13/578,531, filed Feb.

10, 2011. A true and correct copy of the ’954 Patent is attached as Exhibit 4.

       94.     Pantech Corp. is the assignee and owner of all right, title and interest in and to

the ’954 Patent, including the right to assert all causes of action arising under said patent and the

right to any remedies for infringement of it.

       95.     The ’954 Patent discloses methods and apparatuses for establishing uplink

synchronization in a wireless communication system supporting primary and secondary

Component Carriers (“CC”), through the use of timing groups. For instance, a user equipment

receives, through a primary CC belonging to a first uplink timing group, a Radio Resource

Control (RRC) message comprising information related to a second uplink timing group,

receives information indicating a random access preamble, transmits a Random Access Preamble

(RAP) through one or more CCs for a respective second uplink timing group, and receives in

response a timing advance value to apply to the secondary CC for the respective second uplink

timing group. For example, claims 1, 4, 6, and 9 of the ’954 Patent recite elements of the carrier

aggregation functionality mandated by at least the LTE Advanced standard, including at least the

following 3GPP technical specifications: TS 36.300, TS 36.321, TS 36.213, TS 36.211, and TS

36.331, Release 11 and higher. See, e.g., 3GPP 36.331 v11.2.0 at 51 (§ 5.3.5.3), 64 (§ 5.3.10.0),

66 (5.3.10.4) (the UE receives, through RRC signaling, configuration information relating to

secondary timing advance group sTAG for a secondary component carrier); 3GPP TS 36.300

v11.6.0 at 48 (§ 5.5), 60 (§ 7.5), 72 (§ 10.1.2.7) (specifying multiple timing advance capability

and multiple timing advance groups; addition and configuration of secondary cells with uplink

component carriers; and use of timing reference cells); id. at 72-75 (§ 10.1.5) (non-contention

based random access procedure used to obtain timing advance alignment for secondary timing




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advance group ("sTAG")); id. at 74-75 (§ 10.1.5.2) (specifying random access procedure steps

performed by the UE including reception of preamble assignment, transmission of random

access preamble, and reception of random access response); 3GPP TS 36.321 v11.1.0 at 17-18 (§

5.2), 43-44 (§ 6.1.5), 46 (§ 6.2.3) (MAC Random Access Responses include Timing Advance

Command and UL Grant fields; UE applies Timing Advance Command upon receiving MAC);

3GPP TS 36.213 v11.1.0 at 9-10 (§ 4.2.3) (UE adjusts uplink transmission timing of sTAG upon

reception of Timing Advance Command); 3GPP TS 36.211 v11.1.0 at 104 (§ 8.1) (specifying

uplink-downlink frame timing). Compliance with these technical specifications, and thus with at

least the LTE Advanced standard, requires the use of the invention recited in at least claims 1, 4,

6, and 9 of the ’954 Patent, including the functionality described in this paragraph.

       96.     Furthermore, claims 1, 4, 6, and 9 of the ’954 Patent also recite elements of the

carrier aggregation and/or multi-radio dual connectivity functionality mandated by at least the

5G standard, including at least the following 3GPP technical specifications: TS 36.300, TS

36.213, TS 36.321, TS 36.211, TS, 36.331, TS 37.340, TS 38.300, TS 38.321, and TS 38.331,

Release 16 and higher. See, e.g., 3GPP TS 38.300 v16.0.0 at 8 (§ 1), 11-12 (§ 4.1), 24 (Section

5.4.1) (specifying architecture including a gNB for providing NR connectivity interconnected

with an eNB for providing EUTRA connectivity; specifying multiple timing advance capability

and multiple timing advance groups); 3GPP TS 38.331 v16.0.0 at 55-56 (§ 5.3.5.1), 57 (§

5.3.5.3), 62-66 (§ 5.3.5.5 , 239-41 (§ 6.2.2), 605 (UE receives RRC signaling, including

RRCReconfiguration with mrdc-SecondaryCellGroupConfig; specifying configuration of Master

Cell Group and Secondary Cell Group, and configuration and addition of timing groups); 3GPP

TS 38.321 v16.0.0 at 9 (§ 3.1) (timing advance group comprises a group of serving cells using

the same timing reference cell and Timing Advance value); 3GPP TS 37.340 v16.2.0 at 7-12, 15




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(§ 6.1), 27-28 (§ 10.2.2) (providing for Multi-Radio Dual Connectivity ("MR-DC") and NR-E-

UTRA Dual Connectivity; specifying Secondary Node Addition procedure including reception

by the UE of a SN RRC reconfiguration message originating from the SN and relayed by the MN

to the UE; MR-DC supports random access procedure and MAC entities); 3GPP TS 36.300

v16.0.0 at 116 (§ 10.1.2.7) (specifying that eNB maintains timing advance; disclosing multiple

groups and use of timing reference cells); id. at 136-40 (§ 10.1.5) (non-contention based random

access procedure used to obtain timing advance alignment for secondary timing advance group

("sTAG")); 3GPP TS 36.321 v16.0.0 at 31-32 (§ 5.2), 94 (§ 6.1.3.5), 110-11 (§ 6.1.5), 117 (§

6.2.3) (MAC Random Access Responses include Timing Advance Command and UL Grant

fields; UE applies Timing Advance Command upon receiving MAC); 3GPP TS 36.213 v16.0.0

at 12-13 (§ 4.2.3) (UE adjusts uplink transmission timing of sTAG upon reception of Timing

Advance Command); 3GPP TS 36.211 v16.0.0 at 193 (§8.1) (specifying uplink-downlink frame

timing); 3GPP 36.331 at 121-23 (§ 5.3.5.3) (the UE performs secondary cell group configuration

in response to RRC signaling). Compliance with these technical specifications, and thus with at

least the 5G standard, requires the use of the invention recited in at least claims 1, 4, 6, and 9 of

the ’954 Patent, including the functionality described in this paragraph.

       97.     Upon information and belief, Defendant has and continues to directly infringe at

least claims 1, 4, 6, and 9 of the ’954 Patent by making, using, selling, importing, offering to sell

within the United States, importing into the United States, and providing to and within the

United States, Accused Instrumentalities that practice at least claims 1, 4, 6, and 9 of the ’954

Patent (the “OnePlus Accused ’954 Instrumentalities”). Defendant also has and continues to

directly infringe at least claims 1, 4, 6, and 9 by practicing claims 1, 4, 6, and 9 through the




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OnePlus Accused ’954 Instrumentalities, and by causing the OnePlus Accused ’954

Instrumentalities to practice the patented inventions.

       98.     OnePlus Accused ’954 Instrumentalities include, for example, the OnePlus Nord

N200 5G and other LTE-compatible products that support LTE carrier aggregation and/or other

5G-compatible products that support carrier aggregation and/or multi-radio dual connectivity. On

information and belief, each of the OnePlus Accused ’954 Instrumentalities incorporates at least

one processor configured to comply with (1) LTE Advanced, including supporting LTE carrier

aggregation, and thus including at least the following 3GPP technical specifications: TS 36.300,

TS 36.321, TS 36.213, TS 36.211, and TS 36.331, each Release 11 and higher; and/or (2) 5G,

including supporting carrier aggregation and/or multi-radio dual connectivity mandated by the

5G standard, and thus including at least the following 3GPP technical specifications: TS 36.300,

TS 36.213, TS 36.321, TS 36.211, TS, 36.331, TS 37.340, TS 38.300, TS 38.321, and TS 38.331,

Release 16 and higher.

       99.     OnePlus Accused ’954 Instrumentalities incorporate a chipset, application

processor, SoC, or system-on-chip that, on information and belief, support (1) LTE carrier

aggregation; and/or (2) 5G carrier aggregation and/or multi-radio dual connectivity. On

information and belief, each incorporated chipset, application processor, SoC, or system-on-chip

complies with one or more of LTE Advanced cellular communication protocols (including at

least 3GPP TS 36.300, TS 36.321, TS 36.213, TS 36.331, and TS 36.211, Release 11 or later)

and 5G cellular communication protocols (including at least TS 36.300, TS 36.213, TS 36.321,

TS 36.211, TS, 36.331, TS 37.340, TS 38.300, TS 38.321, and TS 38.331, Release 16 or later).

       100.    Defendant was made aware of the ’954 Patent family and its infringement thereof

at least as early as January 21, 2021, when family members were identified in correspondence




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sent to OnePlus by Pantech Corp. Defendant was made aware of the ’954 Patent and its

infringement thereof at least as early as the date of filing of this Complaint.

         101.    Since at least the filing of this Complaint, Defendant’s infringement will have

been, and continues to be willful.

         102.    Upon information and belief, the OnePlus Accused ’954 Instrumentalities are

used, marketed, provided to, and/or used by or for Defendant’s partners, clients,

customers/subscribers and end users across the country and in this district.

         103.    Upon information and belief, Defendant has induced and continues to induce

others to infringe at least claims 1, 4, 6, and 9 of the ’954 Patent under 35 U.S.C. § 271(b) by,

among other things, and with specific intent or willful blindness, actively aiding and abetting

others    to    infringe,   including,   but   not    limited   to   Defendant’s   partners,   clients,

customers/subscribers, and end users, whose use of the OnePlus Accused ’954 Instrumentalities

constitutes direct infringement of at least one claim of the ’954 Patent. For example, OnePlus

advertises and has advertised the use of its devices for LTE Advanced and 5G communications.

See https://www.oneplus.com/n200-5g/specs.

         104.    In particular, Defendant’s actions that aid and abet others such as its partners,

customers/subscribers, clients, and end users to infringe include advertising and distributing the

OnePlus Accused ’954 Instrumentalities, and providing instruction materials, training and

services regarding the OnePlus Accused ’954 Instrumentalities.

         105.    Any party, including Defendant’s partners, clients, customers/subscribers, and end

users, using the OnePlus Accused ’954 Instrumentalities necessarily infringes the ’954 Patent

because the inventions of the ’954 Patent are required to comply with the relevant cellular




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standards. Defendant has knowingly induced infringement since at least as early as the filing of

this Complaint.

       106.    Defendant advertises its OnePlus Accused ’954 Instrumentalities as compliant

with the relevant cellular standard, which induces others to infringe the ’954 Patent. Defendant

has knowingly induced infringement since at least the filing of this Complaint, when Defendant

was made aware of the ’954 Patent.

       107.    Upon information and belief, Defendant is liable as a contributory infringer of

the ’954 Patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the

United States the OnePlus Accused ’954 Instrumentalities that infringe the patented inventions,

to be especially made or adapted for use in an infringement of the ’954 Patent. Each of the

OnePlus Accused ’954 Instrumentalities is a material component for use in practicing the ’954

Patent and is specifically made and not a staple article of commerce suitable for substantial non-

infringing use. In particular, each of the OnePlus Accused ’954 Instrumentalities is advertised to

be compliant with the relevant standards and primarily used in compliance with such standards.

       108.    Pantech Corp. has been harmed by Defendant’s infringing activities.

              COUNT V – INFRINGEMENT OF U.S. PATENT NO. 8,893,052

       109.    The allegations set forth in the foregoing paragraphs 1 through 108 are

incorporated into this claim for relief.

       110.    On Oct. 26, 2004, U.S. Patent No. 8,893,052, “System and method for controlling

mobile terminal application using gesture” was duly and legally issued by the United States

Patent and Trademark Office from U.S. Patent Application No. 12/477,579, filed on Jun. 3, 2009.

The ’052 Patent claims priority to KR 10-2008-0111587, filed on Nov. 11, 2008. A true and

correct copy of the ’052 Patent is attached as Exhibit 5.




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         111.   Pantech Corp. is the assignee and owner of all right, title and interest in and to

the ’052 Patent, including the right to assert all causes of action arising under said patent and the

right to any remedies for infringement of it.

         112.   The ’052 Patent discloses a method for using a gesture to more easily perform a

command event corresponding to a gesture by a background application driven in a mobile

terminal.

         113.   As the demand and use for mobile terminals increased at the time of the ’052

Patent (which claims priority to Nov. 11, 2008), so did the use of applications, providing various

and convenient functions.’052 Patent at 1:23-44. Consequently, consumer demand sought to

concurrently run and use numerous applications. Id. at 45-51. However, conventional mobile

terminals were unable to directly perform control with respect to background applications. Id. at

21-63.

         114.   In order to solve this problem, the inventor of the ’052 Patent developed the

method for controlling applications running in the background without terminating the execution

of an application running in the foreground. See id. at 1:47-51. The solution provided by the ’052

Patent thereby allows for control of a background application by using a gesture to perform a

command event. The claimed method includes steps which execute multiple applications,

determine a target application based on gestures received, and controlling the intended

application. Thereby, the ’520 Patent provided a practical and desirable concrete way of

processing input to control background applications. The ’052 Patent improves the user

experience of a mobile terminal by allowing increased control of background applications

without switching between apps.




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       115.    Upon information and belief, Defendant has and continues to directly infringe at

least claims 1, 8, 10, 17, and 18-20 of the ’052 Patent by making, using, selling, importing,

offering to sell within the United States, importing into the United States, and providing to and

within the United States, Accused Instrumentalities that practice at least claims 1, 8, 10, 17, and

18-20 of the ’052 Patent (the “OnePlus Accused ’052 Instrumentalities”). Defendant also has and

continues to directly infringe at least claims 1, 8, 10, 17, and 18-20 by practicing claims 1, 8, 10,

17, and 18-20 through the OnePlus Accused ’052 Instrumentalities, and by causing the OnePlus

Accused ’052 Instrumentalities to practice the patented inventions.

       116.    OnePlus Accused ’052 Instrumentalities include, for example, the OnePlus Nord

N200 5G and other products that incorporate at least one processor, display, and include software

functionality such as described below.

       117.    For example, the OnePlus Nord N200 5G performs a method for using a gesture

to more easily perform a command event corresponding to a gesture by a background application

driven in a mobile terminal. In one example, when a phone call is received, the user can switch

to another app (e.g., “Weather”) without ending the phone call.




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             A phone call is received by the The phone call continues in the
             “Phone” application.            background while “Weather” is
                                             in the foreground.

                      Annotated OnePlus Nord N200 5G Screenshots


     Further, the user is able to control the “Phone” application without switching to the full

     “Phone” application interface by using a gesture. For example, by dragging the “D” icon

     to the bottom right of the screen, the user can end the phone call without displaying the

     full “Phone” application interface.




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              In the Weather application, the The phone call ends without
              user drags the “D” icon down and displaying   the   “Phone”
              to the right.                    application.

                          Annotated OnePlus Nord N200 5G Screenshots


       118.    Defendant was made aware of the ’052 Patent and its infringement thereof at least

as early as the date of filing of this Complaint.

       119.    Since at least as early as the filing of this Complaint, Defendant’s infringement

will have been, and continues to be willful.

       120.    Upon information and belief, the OnePlus Accused ’052 Instrumentalities are

used, marketed, provided to, and/or used by or for Defendant’s partners, clients,

customers/subscribers and end users across the country and in this district.



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       121.    Upon information and belief, Defendant has induced and continues to induce

others to infringe at least claims 1, 8, 10, 17, and 18-20 of the ’052 Patent under 35 U.S.C. §

271(b) by, among other things, and with specific intent or willful blindness, actively aiding and

abetting others to infringe, including, but not limited to Defendant’s partners, clients,

customers/subscribers, and end users, whose use of the OnePlus Accused ’052 Instrumentalities

constitute direct infringement of at least claims 1, 8, 10, 17, and 18-20 of the ’052 Patent.

       122.    In particular, Defendant’s actions that aid and abet others such as its partners,

customers/subscribers, clients, and end users to infringe include advertising and distributing the

OnePlus Accused ’052 Instrumentalities, and providing instruction materials, training and

services regarding the OnePlus Accused ’052 Instrumentalities.

       123.    Any party, including Defendant’s partners, clients, customers/subscribers, and end

users, using a gesture to more easily perform a command event corresponding to a gesture by a

background application according to the functionality of the OnePlus Accused ’052

Instrumentalities infringes the ’052 Patent. Defendant has knowingly induced infringement since

at least the filing of this Complaint, when Defendant was first made aware of the ’052 Patent.

       124.    Upon information and belief, Defendant is liable as a contributory infringer of

the ’052 Patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the

United States the OnePlus Accused ’052 Instrumentalities that infringe the patented inventions,

to be especially made or adapted for use in an infringement of the ’052 Patent. Each of the

OnePlus Accused ’052 Instrumentalities is a material component for use in practicing the ’052

Patent and is specifically made and not a staple article of commerce suitable for substantial non-

infringing use. For example, the software associated with implementing the OnePlus

Accused ’052 Instrumentalities is not suitable for substantial non-infringing use.




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       125.    Pantech Corp. has been harmed by Defendant’s infringing activities.

              COUNT VI – INFRINGEMENT OF U.S. PATENT NO. 10,869,247

       126.    The allegations set forth in the foregoing paragraphs 1 through 125 are

incorporated into this claim for relief.

       127.    On December 15, 2020, the ’247 Patent, entitled “Supporting Uplink

Transmissions,” was duly and legally issued by the United States Patent and Trademark Office

from U.S. Patent Application No. 17/008,439, filed on August 31, 2020. The ’247 Patent claims

priority to at least provisional application No. 60/517,656, filed on November 5, 2003. A true

and correct copy of the ’247 Patent is attached as Exhibit 6.

       128.    Pantech Wireless is the assignee and owner of all right, title and interest in and to

the ’247 Patent, including the right to assert all causes of action arising under said patent and the

right to any remedies for infringement of it.

       129.    The ’247 Patent discloses at least a method and an apparatus for supporting uplink

transmissions. For example, the ’247 Patent discloses a method of transmitting a data block to a

base station using a hybrid automatic repeat request (H-ARQ) process, receiving uplink

scheduling information from the base station, and determining whether to retransmit the data

block based on the received uplink scheduling information and not based on whether the UE has

received a negative acknowledgment (NACK) from the base station. Compliance with 3GPP TS

38.212 and TS 38.321, as required by at least the 5G cellular standard, requires the use of the

inventions recited in at least claims 11, 12, and 18 of the ’247 Patent, including the functionality

described in this paragraph. See 3GPP TS 38.212 V15.8.0 at 74 (disclosing receiving uplink

scheduling information) and TS 38.321 V15.8.0 at 28 (disclosing transmission of data to a base

station using a HARQ process).




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           130.   Upon information and belief, Defendant has and continues to directly infringe at

least claims 11, 12, and 18 of the ’247 Patent by making, using, selling, importing, offering to

sell within the United States, importing into the United States, and providing to and within the

United States, Accused Instrumentalities that practice at least claims 11, 12, and 18 of the ’247

Patent (the “OnePlus Accused ’247 Instrumentalities”). Defendant also has and continues to

directly infringe at least claims 11, 12, and 18 by practicing claims 11, 12, and 18 through the

OnePlus Accused ’247 Instrumentalities, and by causing the OnePlus Accused ’247

Instrumentalities to practice the patented inventions.

           131.   OnePlus Accused ’247 Instrumentalities include, for example, the OnePlus Nord

N200 5G and other 5G-compatible products that transmit data using a hybrid automatic repeat

request (H-ARQ) in compliance with 3GPP TS 38.212 and TS 38.321. On information and belief,

each of the OnePlus Accused ’247 Instrumentalities incorporates at least one processor

configured to comply with one or more of 5G cellular communication protocols.

           132.   Defendant was made aware of the ’247 Patent and its infringement thereof at least

as early as July 9, 2021, when the patent was identified in correspondence sent to OnePlus by

Pantech Corp. on behalf of Pantech Wireless.

           133.   Since at least July 9, 2021, when it was made aware of the ’247 Patent by Pantech

Corp. on behalf of Pantech Wireless, Defendant’s infringement has been, and continues to be,

willful.

           134.   Upon information and belief, the OnePlus Accused ’247 Instrumentalities are

used, marketed, provided to, and/or used by or for Defendant’s partners, clients,

customers/subscribers and end users across the country and in this district.




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         135.    Upon information and belief, Defendant has induced and continues to induce

others to infringe at least claims 11, 12, and 18 of the ’247 Patent under 35 U.S.C. § 271(b) by,

among other things, and with specific intent or willful blindness, actively aiding and abetting

others    to    infringe,   including,   but   not    limited   to   Defendant’s   partners,   clients,

customers/subscribers, and end users, whose use of the OnePlus Accused ’247 Instrumentalities

constitute direct infringement of at least one claim of the ’247 Patent. For example, OnePlus

advertises and has advertised the use of its devices for 5G communications. See

https://www.oneplus.com/n200-5g/specs.

         136.    In particular, Defendant’s actions that aid and abet others such as its partners,

customers/subscribers, clients, and end users to infringe include advertising and distributing the

OnePlus Accused ’247 Instrumentalities, and providing instruction materials, training and

services regarding the OnePlus Accused ’247 Instrumentalities.

         137.    Any party, including Defendant’s partners, clients, customers/subscribers, and end

users, using the OnePlus Accused ’247 Instrumentalities necessarily infringes the ’247 Patent

because the inventions of the ’247 Patent are required to comply with the 5G cellular standard

(3GPP TS 38.212 and TS 38.321). Defendant advertises its OnePlus Accused ’247

Instrumentalities as compliant with 5G, which induces others to infringe the ’247 Patent.

Defendant has knowingly induced infringement since at least as early as July 9, 2021.

         138.    Upon information and belief, Defendant is liable as a contributory infringer of

the ’247 Patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the

United States the OnePlus Accused ’247 Instrumentalities that infringe the patented inventions,

to be especially made or adapted for use in an infringement of the ’247 Patent. Each of the

OnePlus Accused ’247 Instrumentalities is a material component for use in practicing the ’247




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Patent and is specifically made and not a staple article of commerce suitable for substantial non-

infringing use. In particular, each of the OnePlus Accused ’247 Instrumentalities is advertised to

be compliant with the relevant standards and primarily used in compliance with such standards.

       139.    Pantech Wireless has been harmed by Defendant’s infringing activities.

              COUNT VII – INFRINGEMENT OF U.S. PATENT NO. 9,063,654

       140.    The allegations set forth in the foregoing paragraphs 1 through 139 are

incorporated into this claim for relief.

       141.    On Jun. 23, 2015, U.S. Patent No. 9,063,654, “Terminal apparatus and method for

supporting smart touch operation” was duly and legally issued by the United States Patent and

Trademark Office from U.S. Patent Application No. 13/603,376, filed on Sep. 4, 2012. The ’654

Patent claims priority to KR 10-2011-0091901, filed on Sep. 9, 2011. A true and correct copy of

the ’654 Patent is attached as Exhibit 7.

       142.    Pantech Corp. is the assignee and owner of all right, title and interest in and to

the ’654 Patent, including the right to assert all causes of action arising under said patent and the

right to any remedies for infringement of it.

       143.    The ’654 Patent discloses a terminal apparatus and method for supporting smart

touch operation.

       144.    At the time of the ’654 Patent (which claims priority to Sep. 9, 2011),

conventional methods for operating a mobile device lacked a defined technique for determining

which object a user selected when multiple objects were close together. In some instances, where

multiple objects on a display region were displayed close together, the mobile device would

determine an inaccurate selection of objects or selection of multiple objects, contrary to the

intention of a user. See ’654 Patent at 1:24-30.




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       145.    The ’654 Patent solved this problem by providing a technique for supporting

smart touch operation. In one example, smart touch operation includes determining overlap

percentages for a first set of one or more objects, then generate and display a second set of one or

more objects wherein the size of the one or more second objects corresponds to the overlap

percentages in the first set of one or more objects. See ’654 Patent at 3:25-37, 4:38-64, FIG. 4.

By displaying the one or more second objects in an untouched region, the technique prevents the

one or more second objects from being obscured by the touch (e.g., a finger). See id. at 4:1-5.

Further, as an additional benefit, in order to preserve battery, if a second object is not selected

within a reference time period after the second object is displayed, then mobile device may

remove the display of the second set of objects. Id. at 5:49-52.

       146.    Upon information and belief, Defendant has and continues to directly infringe at

least claims 1, 6, 8, 12, and 18 of the ’654 Patent by making, using, selling, importing, offering

to sell within the United States, importing into the United States, and providing to and within the

United States, Accused Instrumentalities that practice at least claims 1, 6, 8, 12, and 18 of

the ’654 Patent (the “OnePlus Accused ’654 Instrumentalities”). Defendant also has and

continues to directly infringe at least claims 1, 6, 8, 12, and 18 by practicing claims 1, 6, 8, 12,

and 18 through the OnePlus Accused ’654 Instrumentalities, and by causing the OnePlus

Accused ’654 Instrumentalities to practice the patented inventions.

       147.    OnePlus Accused ’654 Instrumentalities include, for example, the OnePlus Nord

N200 5G and other products that incorporate at least one processor, touchscreen, and include

software functionality such as described below.

       148.    For example, the OnePlus Nord N200 5G performs a method for supporting smart

touch operation. As one example, the OnePlus Nord N200 5G includes an interface to detect a




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touch input corresponding to a long-press touch on the “Settings” icon. Based on the touch, the

OnePlus Nord N200 5G generates another pop-up Settings menu in an untouched region. If the

user does not make a further selection, then the pop-up menu is removed upon expiration of a

timer.




                  Annotated OnePlus Nord N200 5G Screenshot showing long-press




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                            OnePlus Nord N200 5G Screenshot showing pop-up menu

         149.    Defendant was made aware of the ’654 Patent and its infringement thereof at least

as early as the date of filing of this Complaint.

         150.    Since at least as early as the filing of this Complaint, Defendant’s infringement

will have been, and continues to be willful.

         151.    Upon information and belief, the OnePlus Accused ’654 Instrumentalities are

used, marketed, provided to, and/or used by or for Defendant’s partners, clients,

customers/subscribers and end users across the country and in this district.

         152.    Upon information and belief, Defendant has induced and continues to induce

others to infringe at least claims 1, 6, 8, 12, and 18 of the ’654 Patent under 35 U.S.C. § 271(b)

by, among other things, and with specific intent or willful blindness, actively aiding and abetting

others    to    infringe,    including,   but   not    limited   to   Defendant’s   partners,   clients,

customers/subscribers, and end users, whose use of the OnePlus Accused ’654 Instrumentalities


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constitute direct infringement of at least claims 1, 6, 8, 12, and 18 of the ’654 Patent. For

example, Defendant’s user manual for the OnePlus Nord N200 5G instructs users to “[p]ress and

hold the screen to bring up the pop-up window for advanced settings or to enter edit status.”

       153.     In particular, Defendant’s actions that aid and abet others such as its partners,

customers/subscribers, clients, and end users to infringe include advertising and distributing the

OnePlus Accused ’654 Instrumentalities, and providing instruction materials, training and

services regarding the OnePlus Accused ’654 Instrumentalities.

       154.     Any party, including Defendant’s partners, clients, customers/subscribers, and end

users, using the smart touch operation of the OnePlus Accused ’654 Instrumentalities infringes

the ’654 Patent. Defendant has knowingly induced infringement since at least the filing of this

Complaint, when Defendant was first made aware of the ’654 Patent.

       155.     Upon information and belief, Defendant is liable as a contributory infringer of

the ’654 Patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the

United States the OnePlus Accused ’654 Instrumentalities that infringe the patented inventions,

to be especially made or adapted for use in an infringement of the ’654 Patent. Each of the

OnePlus Accused ’654 Instrumentalities is a material component for use in practicing the ’654

Patent and is specifically made and not a staple article of commerce suitable for substantial non-

infringing use. For example, the software associated with implementing the OnePlus

Accused ’654 Instrumentalities is not suitable for substantial non-infringing use.

       156.     Pantech Corp. has been harmed by Defendant’s infringing activities.

              COUNT VIII – INFRINGEMENT OF U.S. PATENT NO. 10,162,490

       157.     The allegations set forth in the foregoing paragraphs 1 through 156 are

incorporated into this claim for relief.




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       158.    On Dec. 25, 2018, U.S. Patent No. 10,162,490, “Method for displaying

transmission status of MMS (multimedia messaging service) message and telecommunication

terminal using the method” was duly and legally issued by the United States Patent and

Trademark Office from U.S. Patent Application No. 15/167,518, filed on May 27, 2016.

The ’490 Patent claims priority to KR 10-2008-0042843, filed on May 8, 2008, and U.S. Patent

Application No. 12/364,085, filed on Feb. 2, 2009. A true and correct copy of the ’490 Patent is

attached as Exhibit 8.

       159.    Pantech Corp. is the assignee and owner of all right, title and interest in and to

the ’490 Patent, including the right to assert all causes of action arising under said patent and the

right to any remedies for infringement of it.

       160.    The ’490 Patent discloses a method for displaying transmission status of

multimedia messaging service (“MMS”) messages.

       161.    When a MMS message is transmitted using conventional methods, a media file

such as an image or video is attached. ’490 Patent at 1:32-36. However, at the time of the ’490

Patent (which claims priority to May 8, 2008), a user could not check the content of the

transmitted MMS message, running the risk that the user had included a media file by mistake. Id.

at 1:37-43. Nor could the user determine the progress of individual media file when multiple

were sent at once. See id. at 44-49.

       162.    The ’490 Patent solves this problem by providing a method for displaying the

transmission status of a MMS message in which the content of the currently transmitted MMS

message is displayed. Id. at 56-62. Further, the ’490 Patent provides a solution that allows a user

to check the transmission status of the MMS message and which individual media file is being

transmitted. See id.




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       163.    Upon information and belief, Defendant has and continues to directly infringe at

least claims 1, 3, 4, 5, 7, and 8 of the ’490 Patent by making, using, selling, importing, offering

to sell within the United States, importing into the United States, and providing to and within the

United States, Accused Instrumentalities that practice at least claims 1, 3, 4, 5, 7, and 8 of

the ’490 Patent (the “OnePlus Accused ’490 Instrumentalities”). Defendant also has and

continues to directly infringe at least claims 1, 3, 4, 5, 7, and 8 by practicing claims 1, 3, 4, 5, 7,

and 8 through the OnePlus Accused ’490 Instrumentalities, and by causing the OnePlus

Accused ’490 Instrumentalities to practice the patented inventions.

       164.    OnePlus Accused ’490 Instrumentalities include, for example, the OnePlus Nord

N200 5G and other products that incorporate at least one processor, touchscreen, and include

software functionality such as described below.

       165.    For example, the OnePlus Nord N200 5G (an exemplary OnePlus Accused ’490

Instrumentality) performs a method for displaying transmission status of messages when sending

message packets based on the Bluetooth messaging protocols. As an example, when a user

selects Bluetooth file share, the OnePlus Nord N200 5G prepares and transmits messages over

Bluetooth channel and the display displays a transmission status bar:




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         Further, once the file transfer begins, then the OnePlus Nord N200 5G displays the

         transmission progress of the selected contents.




                                         OnePlus Nord N200 Screenshot

         166.    Defendant was made aware of the ’490 Patent and its infringement thereof at least

as early as the date of filing of this Complaint.

         167.    Since at least as early as the filing of this Complaint, Defendant’s infringement

will have been, and continues to be willful.

         168.    Upon information and belief, the OnePlus Accused ’490 Instrumentalities are

used, marketed, provided to, and/or used by or for Defendant’s partners, clients,

customers/subscribers and end users across the country and in this district.

         169.    Upon information and belief, Defendant has induced and continues to induce

others to infringe at least claims 1, 3, 4, 5, 7, and 8 of the ’490 Patent under 35 U.S.C. § 271(b)

by, among other things, and with specific intent or willful blindness, actively aiding and abetting

others    to    infringe,   including,   but   not    limited   to   Defendant’s   partners,   clients,

customers/subscribers, and end users, whose use of the OnePlus Accused ’490 Instrumentalities

constitute direct infringement of at least claims 1, 3, 4, 5, 7, and 8 of the ’490 Patent.




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       170.    In particular, Defendant’s actions that aid and abet others such as its partners,

customers/subscribers, clients, and end users to infringe include advertising and distributing the

OnePlus Accused ’490 Instrumentalities, and providing instruction materials, training and

services regarding the OnePlus Accused ’490 Instrumentalities.

       171.    Any party, including Defendant’s partners, clients, customers/subscribers, and end

users, sending message packets based on the Bluetooth messaging protocols using the OnePlus

Accused ’490 Instrumentalities infringes the ’490 Patent. Defendant has knowingly induced

infringement since at least the filing of this Complaint, when Defendant was first made aware of

the ’490 Patent.

       172.    Upon information and belief, Defendant is liable as a contributory infringer of

the ’490 Patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the

United States the OnePlus Accused ’490 Instrumentalities that infringe the patented inventions,

to be especially made or adapted for use in an infringement of the ’490 Patent. Each of the

OnePlus Accused ’490 Instrumentalities is a material component for use in practicing the ’490

Patent and is specifically made and not a staple article of commerce suitable for substantial non-

infringing use. For example, the hardware and software associated with implementing the

OnePlus Accused ’490 Instrumentalities is not suitable for substantial non-infringing use.

       173.    Pantech Corp. has been harmed by Defendant’s infringing activities.

                                           DAMAGES

       As a result of Defendant’s acts of infringement, Pantech has suffered actual and

consequential damages. To the fullest extent permitted by law, Pantech seeks recovery of

damages at least in the form of reasonable royalties.




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                                         JURY DEMAND

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs demand a trial by

jury on all issues triable as such.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs demands judgment for itself and against Defendant as follows:

    A. An adjudication that Defendant has infringed U.S. Patent Nos. 9,548,839; 11,172,493;

        8,587,710; 11,012,954; 8,893,052; 10,869,247; 9,063,654; and 10,162,490;

    B. An award of damages to be paid by Defendant adequate to compensate Plaintiffs for

        Defendant’s past infringement of the Asserted Patents, and any continuing or future

        infringement through the date such judgment is entered, including interest, costs,

        expenses and an accounting of all infringing acts including, but not limited to, those acts

        not presented at trial;

    C. A declaration that this case is exceptional under 35 U.S.C. § 285, and an award of

        Plaintiffs’ reasonable attorneys’ fees; and

    D. An award to Plaintiffs of such further relief at law or in equity as the Court deems just

        and proper.

Dated: June 3, 2022                               Respectfully submitted,

Of counsel:                                           /s/ Geoffrey Culbertson
James A. Fussell, III                                 Geoffrey Culbertson
Jamie B. Beaber                                       Kelly Tidwell
Saqib J. Siddiqui                                     PATTON TIDWELL & CULBERTSON, LLP
Tiffany A. Miller                                     2800 Texas Blvd. (75503)
Baldine Paul*                                         Post Office Box 5398
Clark S. Bakewell*                                    Texarkana, TX 75505-5398
Seth W. Bruneel*                                      (P) (903) 792-7080
MAYER BROWN LLP                                       (F) (903) 792-8233
1999 K Street, N.W.                                   gpc@texarkanalaw.com
Washington D.C. 20006                                 kbt@texarkanalaw.com
(202) 263-3000
jbeaber@mayerbrown.com


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jfussell@mayerbrown.com
ssiddqui@mayerbrown.com
tmiller@mayerbrown.com                     Counsel for Plaintiffs Pantech Corporation
bpaul@mayerbrown.com                       and Pantech Wireless, LLC
cbakewell@mayerbrown.com
sbruneel@mayerbrown.com

Graham M. Buccigross*
MAYER BROWN LLP
Two Palo Alto Square, Suite 300
3000 El Camino Real
Palo Alto, CA 94306
(650) 331-2000
gbuccigross@mayerbrown.com

Gregory J. Apgar*
MAYER BROWN LLP
1221 Avenue of the Americas
New York, NY 10020
(212) 506-2500
gapgar@mayerbrown.com

Luiz Miranda*
MAYER BROWN LLP
71 S. Wacker Drive
Chicago, IL 60606
(312) 782-0600
lmiranda@mayerbrown.com

(* pro hac vice application to be filed)




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